Case 1:20-cv-21108-UU Document 52 Entered on FLSD Docket 06/17/2020 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 20-cv-21108-UU

 MARTA REYES, et al.,

        Plaintiffs,

 v.

 PEOPLE’S REPUBLIC OF CHINA, et al.,

       Defendants.
 __________________________________________/

                         ORDER GRANTING IN PART PLAINTIFFS’
                      MOTION TO STRIKE AND ORDER TO SHOW CAUSE

        THIS CAUSE comes before the Court upon Plaintiff’s Motion to Strike All Submissions

 of David Andrew Christenson, and for an Order Preventing New Filings (the “Motion”). D.E. 40.

 The Court has considered the Motion and the pertinent portions of the record and is otherwise fully

 advised on the premises.

        Through the Motion, Plaintiffs seek an order from this Court striking all docket entries

 filed by David Andrew Christenson pursuant to Fed. R. Civ. P. 12(f) and preventing Mr.

 Christenson from filing additional documents. Plaintiffs describe Mr. Christenson as a “self-

 avowed federal docket gadfly that has filed so-called ‘amicus briefs’ and other irrelevant

 documents in an effort to intervene on at least 108 occasions.” D.E. 40. Plaintiffs identify that

 Mr. Christenson has been the subject of several anti-filing injunctions, pursuant to which federal

 courts have barred Mr. Christenson’s docket filings. See D.E. 40.

        In this matter, Mr. Christenson has filed several “amicus briefs,” an “Emergency Motion

 to Dismiss” (D.E. 33), and a “Motion for Permission to Save Your Life” (D.E. 41). Plaintiffs

 assert that Mr. Christenson’s filings, which consist of “immaterial, profane, and promotional
Case 1:20-cv-21108-UU Document 52 Entered on FLSD Docket 06/17/2020 Page 2 of 2



 statements,” are entirely unrelated to this case, such that the Court “should not entertain such

 submissions.” D.E. 40. The Court agrees.

        Rule 12(f) empowers the Court to strike a submission to the Court that contains “any

 redundant, immaterial, impertinent, or scandalous matter.” Fed. R. Civ. P. 12(f). The Court finds

 that Mr. Christenson’s filings, to include his “Emergency Motion to Dismiss,” meet this standard

 and must be stricken. Moreover, Mr. Christenson is not a party to this lawsuit, nor has he

 established any basis to intervene in this case as of right of permissively. But before the Court

 will enter an order restricting Mr. Christenson’s filing privileges, the Court will allow Mr.

 Christenson an opportunity to show good cause in writing as to why he should not be barred from

 filing additional documents in this case. Accordingly, it is hereby

        ORDERED AND ADJUDGED that the Motion (D.E. 40) is GRANTED IN PART. Mr.

 Christenson’s filings (D.E. 18, 19, 20, 21, 31, 33, 34, 35, 36, 37, 38, 41, 44, 45, 46, 47, 48, 49) are

 hereby STRICKEN. It is further

        ORDERED AND ADJUDGED that Mr. Christenson SHALL show good cause in writing

 by Friday, June 19, 2020 as to why he should not be barred from filing additional documents in

 this case. In the event Mr. Christenson fails to abide by this order, he may be subject to an

 anti-filing injunction without further notice.

        DONE AND ORDERED in Chambers, Miami, Florida, this _17th_ day of June, 2020.



                                                __________________________________
                                                URSULA UNGARO
                                                UNITED STATES DISTRICT JUDGE
 Copies furnished:
 All counsel of record
 David Andrew Christenson
